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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

SARAH WITKOWSKI and
SCOTT WITKOWSKI,

Plaintiffs,

vs. Civil Action No.
1:1-cv-00856-LJV-JJM

NIAGARA JET ADVENTURES, LLC,

Defendant.

 

PLAINTIFFS SARAH WITKOWSKI AND SCOTT WITK()WSKI’S OBJECTIONS TO
THE REPORT AND RECOMMENDATION

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PRELIMINARY STATEMENT

Plaintiff`s Sarah Witkowski and Scott Witkowski (hereinafter “Plaintiffs”) object to that
portion of the Report and Recommendation filed May 18, 2018 [Dkt. No. 40] (hereinafter
“R&R”), Which recommends summary judgment be granted in favor of the Defendant on the
issue of negligence lt is respectfully submitted that the R&R errs in finding that the Release is
governed by federal maritime laW, that the Release’s pre-accident release of claims for
negligence is Valid pursuant to applicable federal maritime laW, and that the Release Was not
invalidated by a breach of condition.

More particularly, the R&R errs in not first applying maritime choice of law standards to
more appropriately apply NeW York law to the release evaluation> In failing to consider that the
public policy of NeW York State, particularly Section 5-326 of the General Obligations LaW,
dictates that such a Release should be void, and the applicable choice of law basis for respecting
those public policy pronouncements The R&R gives no consideration to the conflict between the
policy of the General Obligations LaW and federal maritime laW. Nor does it consider the
ramifications such a decision has on activities and injuries Which are inherently localized.

The R&R further fails to take into account that the specific language used in the Release
by Defendant created a condition precedent and Defendant’s failure to satisfy such a condition,
the breach of Which rendered the Release unenforceable Specifically, the language utilized in
the Release Was presented in the past tense, thus creating a condition precedent Additionally, the
R&R fails to address or make any mention of the conduct of the Defendant Which Was in direct

conflict With this condition.

W.D.N.Y. LOCAL R. CIV.P.72(c) CERTIFICATION

The undersigned States that Plaintiff’ s Objections do raise new legal/factual arguments
regarding the applicability of 46 U.S.C. §§ 30502 and 30509. T. Additional legal research
revealed the applicability of these sections to the case at bar and it is respectfully requested that
the Court address this issue in the interests of justice. Additionally, Plaintiffs expand upon the

argument made before the Magistrate Judge and have updated those arguments With additional

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case law in support of Plaintiffs’ original argument at the time of Plaintiffs’ submissions before

the Magistrate Judge.

FACTUAL AND PROCEDURAL BACKGROUND

Following Defendant’s motion for summary judgment, the Magistrate Judge issued a
Report and Recommendation dated May 18, 2018 [Dkt. No. 40], which addressed the issues of
negligence per se, ordinary negligence, and gross negligence/recklessness In that May 18, 2018
Report and Reconimendation, the Magistrate Judge granted Defendant’s motion for summary
judgment on the issues of negligence per se and ordinary negligence but denied Defendant’s
motion on the issue of gross negligence/recklessness Report and Recommendation [Dkt. No. 40]
at 1,112; 513;6,112.

Regarding Plaintiffs ordinary negligence claim, in the R&R, the Magistrate Judge
granted Defendant’s motion for summary judgment holding that the Release signed by Plaintiff
prior to embarking on the jet boat excursion was governed by federal maritime law, not New
York State law. Relying heavily on the holding in Brozyna v. Niagara Gorge Jetboating, Ltd.,
2011 WL 4553100 (W.D.N.Y. 2011), the Magistrate Judge reasoned that the principal objective
of the Release was related to participation in a jet boat excursion on navigable waters and
therefore federal maritime law governed the release. As such, the pre-accident release of claims
for negligence was valid and Plaintiffs’ claim for negligence was dismissed Report and
Recommendation [Dkt. No. 40] at 5, 11 3; 6, 11 2.

Further, in the R&R the Magistrate Judge determined that the language of the Release,
specifically the Defendant’s statement it had “made every effort to keep this experience safe,”
was not a condition, the breach of which would render the Release unenforceable Therefore, the
Release was not invalidated by a breach of condition. Report and Recommendation [Dkt. No. 40]
at 6, 11 3.

LEGAL STANDARD

Rule 56 of the Federal Rules of Civil Procedure provides that ‘[t]he court shall grant

summary judgment is the movant shows that there is no genuine dispute as to any material fact

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and that the movant is entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a). The moving
party bears the initial burden of establishing that no genuine issue of material fact exists.
Rockland Exposition Inc. v. Great American Assur. Co., 746 F.Supp.2d 528, 532 (S.D.N.Y.
2010). A “genuine issue” exists “if the evidence is such that a reasonable jury could return a
verdict for the nonmoving party.” Anderson v. Libertv Lobbv, Inc., 477 U.S. 242, 248 (1986). A
fact is “material” if it “might affect the outcome of the suit under the governing law ....” lit If the
court determines that the moving party has met its burden, the burden shifts to the opposing party
to “come forward with specific facts showing that there is a genuine issue for trial.” Matsushita
Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). The nonmoving party may not
rest upon mere conclusory allegations or denials but must set forth “concrete particulars showing
that a trial is needed ....” R.G. Group, Inc. v. Hom & Hardart Co., 751 F.2d 69, 77 (2d Cir.l984).
In assessing whether each party has met their respective burden, the court “is not to weigh the
evidence but is instead required to view the evidence in the light most favorable to the party
opposing summary judgment, to draw all reasonable inferences in favor of that party, and to
eschew credibility assessments.” Amnesty Am. v. Town of W. Hartford, 361 F.3d 113, 122 (2d
Cir.2004).

ARGUMENT

Plaintiffs agree with the R&R finding denying Defendant’s motion for summary
judgment on the issue of gross negligence/recklessness Nevertheless, Plaintiffs respectfully
object to the recommendation that that federal maritime law applies to the Release thus barring
Plaintiffs negligence claims and finds that the Release was not invalidated by a breach of

condition.

I. New York State Law Should Govern the Release

Under federal maritime law, “a pre-accident waiver will absolve an owner or operator of
liability for recreational accidents taking place on navigable waters where the exculpatory clause
‘(1) is clear and unambiguous; (2) is not inconsistent with public policy; and (3) is not an

adhesion contract.”’ Brozvna v. Niagara Gorge Jetboating, Ltd., 2011 WL 4553100 (W.D.N.Y.

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2011) quoting Charnis v. Watersport Pro, LLC, No. 07-CV-623, 2009 U.S. Dist. LEXIS 76022,
2009 WL 2581699, at *5 (D. Nev. May l, 2009).

Plaintiffs concede that Plaintiff Sarah Witkowski’s injury occurred under substantive

 

maritime law. As such, substantive maritime law controls the rights and liabilities of the parties.
However, state law may still apply to the extent that it “would not disturb the uniformity of
maritime law.” Brozvna v. Niagara Gorge Jetboating Ltd., 2011 WL 4553100 (W.D.N.Y. 2011)
quoting Kossick v. United Fruit Co., 365 U.S. 731 (1961).

The Release is void as a matter of public policy under New York General Obligations
Law § 5-326. Section 5-326 of the General Obligations Law renders void as against public
policy and wholly unenforceable an agreement ..

“. . in or in connection with, or collateral to, any contract, membership

application ticket of admission or similar writing, entered into between the owner

and operator of any pool, gymnasium, place of amusement or recreation, or

similar establishment and the user of such facilities, pursuant to which such owner

or operator receives a fee or other compensation for the use of such facilities,

which exempts the said owner or operator from liability for damages caused by or

resulting from the negligence of the owner, operator or person in charge of such

establishment, or their agents, servants or employees.”
(G.O.L. § 5-326).

New York State Courts have held that the intent of Section 5-326 of the General
Obligations Law was to eliminate the use of releases in commercial situations where there are
potential dangers resulting from the types of activities being promoted, and where the proprietor
of those activities is in substantial control of the environment Dumez v. Harbor Jet Ski, lnc.. 117
l\/Iisc.2d 249 (Sup. Ct. Niagara Cty. 1981). Specifically, a proprietor who is “in substantial
control of the environment” will be subject to the nonwaivable duty imposed by the statute. M.
The Court in M went so far as to hold that mere rental of equipment is insufficient to
establish the control necessary to fall under the prevue of the statute. However, the imposition of
a nonwaivable duty is permissible and reasonable where the environment can be controlled. M.

While Plaintiffs recognize that such a holding is not controlling on this Court, it should
be noted that the current case law, specifically M, cited in the R&R and relied upon by

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Defendant, does not address this public policy argument Report and Recommendation [Dkt. No.
401 at 4, 1111 2-4; 5, 11111-2;6, 11 2.

ln fact, with respect to the public policy argument advanced by Plaintiffs in their
response to Defendant’s motion for summary judgment, such a public policy argument has yet to
be considered by this Court. While M did involve a claim for personal injuries sustained
on a jet boat in the lower Niagara River, the plaintiffs in that case did not make any showing that
the interests expressed in General Obligations Law § 5_326 against the national interest in the
development of a uniform body of maritime law.

Here, the State of New York does have a strong policy interest in applying its law to the
Niagara Jet Adventures release, as the Release covers activities which extend beyond the use of
the vessel itself and apply to shore-based activities which are not traditionally maritime in nature,
or integral to the Defendant’s ability to accomplish its tasks as a recreational jet boat excursion.

lt is undisputed that the Release included activities and issues which were substantially
broader than maritime claims. Rachel Bohnenkamp testified that the Release “cover[ed]

everything.”

36
14 Q. Now, this release doesn't just cover
15 what happens on the water, does it?
16 A. lt covers everything as far as l know.
17 Q. Well, for example, we want to talk
18 about activities that have nothing to do with the
19 water, off the water, it also contractually grants
20 Niagara J et Adventures use of pictures, videos,
21 images, doesn't it?
22 A. Yes.
23 Q. lt also actually includes release,
24 touches on impacts, what happens on the marina on
25 land, New York?

37

1 A. Yes.

2 Q. lt also actually specifically includes

3 anything that happens on shore at all as part of
4 this agreement with the passenger?

5 A. Yes.

6 Q. And y'all have always operated out of
7 New York State?

8 A. Yes.

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9 Q. The office address is Youngstown, but

10 the actual marina is not located in Youngstown, is
11 it or do you know?

12 A. The marina?

13 Q. Yes, ma'am.

14 A. It's located in Youngstown.

15 Q. The work and operations shore side are
16 all operated out of New York State?

17 A. Yes.

[Dkt. No. 30-2] at 27-28.

The Release also included the property rights to photographs, videos, or other media. The
Release also “covers all Niagara Jet Adventures complimentary transportation services, or those
services provided by any outside 3rd party who transports me or my accompanying persons to
and from the Niagara l et Adventures experience.” [Dkt. No. 28-8] at 1-2.

The language of the Release clearly outlines the activities and the environment in which
those activities were expected to occur, all of which the Defendant maintained exclusive control
over for the duration of the jet boat excursion, both on and off shore. Therefore, New York
public policy regarding the application of its statutes to its own substantive common law, should
overrule the interest of a harmonious maritime release doctrine.

lt is of no moment that Plaintiff s particular injury occurred under the substantive Federal
Maritime law. lnstead, Courts look to the “the nature and character of the contract,” to determine
if a particular contract should be subject to maritime law, not the situs of an injury. Theriot v.
Bay Drilling Corp., 783 F.2d 527, 538 (5th Cir. 1986). lndeed, if Plaintiff had suffered an injury
while in Defendant’s parking lot, there is little doubt that New York law would apply to the
release, as the parking lot is under the exclusive control of the Defendant and Defendant would
owe a non-waivable duty to Plaintiffs under General Obligations Law § 5-326. Yet regardless of
the location of Plaintiff’ s injury, the nature and character of the contract is unchanged

Therefore, it is respectfully submitted that the R&R erred in applying Federal Maritime
Law to the Release, instead of New York law, and granting Defendant’s motion for summary

judgment

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II. The Release is Unenforceable Pursuant to 46 U.S.C. § 30509

ln the case at bar, the Release relied upon by the defendant owner of a vessel transporting
passengers clearly attempts to limit the owner’s liability for negligence of that owner as to a
passenger’s personal injury. This Release is unenforceable as a matter of admiralty law pursuant
to 46 U.S.C. § 30509. See Hambrook v. Smith, 2016 WL 4408991 (9th Cir. 2016). 46 U.S.C. §
30509, prohibits “the owner or agent of a vessel transporting passengers between ports in the
United States. . .” from including in a “contract a provision limiting the liability of the owner
or agent for personal injury or death caused by the negligence or fault of the owner or the
owner's employees or agents.” 46 U.S.C. § 30509(a)(1)(A). See Johnson v. Roval Caribbean
Cruises, Ltd, 449 FedAppx. 846 (1 lth Cir. 2011). Any such provision is rendered void and will
not be enforced 46 U.S.C. § 30509(a)(2). IQ.

The unenforceability of such a release was specifically addressed in the case of

Hambrook vs. Smith Civ. No. 14-00132 in the District Court for Hawaii. ln that case, the district

 

court judge specifically found that the waiver executed by a scuba participant was unenforceable

as to the negligence of the operator and the owner of a vessel. Referencing Matter of Pacific

 

Adventures lnc., 5 F. Supp. 2d 874 (D. Haw. 1998), which applied the statutory predecessor to
Section 30509, the district court found liability against the operator and the owner of a scuba
vessel for the death of a scuba participant

The Hambrook Court noted that 46 U.S.C. § 30502 “applies to seagoing vessels and
vessels used on lakes or rivers or in inland navigation, including canal boats, barges, and
lighters.” 2016 WL 4408991 (9th Cir. 2016). Accordingly, Niagara Jet Boat is a seagoing vessel
and is subject to the restrictions of 46 U.S.C. § 30509.

lt is clear based on the testimony of the parties that the activity which Plaintiff Sarah
Witkowski took part in, riding on a jet boat during a tour of the lower Niagara River, was an
activity directly related to Defendant’s duty to provide safe transport of passengers As such, the
Release must be invalidated pursuant to 46 U.S.C. § 30509.

The application of 46 U.S.C. §§ 30502 and 30509 to the enforceability of a release and
waiver was gt addressed by the Court in Brozvna v. Niagara Gorge Jetboating Ltd, 2011 WL
4553100 (W.D.N.Y. 2011). ln M, the Court only considered the applicability of General

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Obligations Law § 5~326 against the national interest in the development of a uniform body of

maritime law. E.

“Congress's concern in enacting [section] 30509(a) was the unilateral imposition of
bargaining power by a ship owner to limit its liability for its negligent acts,” and it intended to
stop ship owners from limiting liability “without any recourse to judicial process.” DeLuca v.
Roval Caribbean Cruises. Ltd., 244 F.Supp.3d 1342 (S.D. Fl Mar. 16, 2017) quoting Estate of
M§Qa_, 695 F.3d at 1242, 1243 (11th Cir. 2018).

ln comparing 46 U.S.C. §§ 30502 and 30509 to General Obligations Law § 5-326, it is
clear these two sections comport with New York General Obligations Law 5 -326 in protecting
the rights of customers who engage in fee-based activities from the negligence of the owners or

operators of those activities

Therefore, it is respectfully submitted that the R&R erred in ruling the Release was

enforceable as a matter of admiralty law.

III. The Release Is Invalid Because Defendant Breached A Condition Of The

Contract

The Release is invalid because Defendant failed to perform a material condition of the
contract by failing to provide safe and adequate seating to Plaintiff.

Similar to New York common law, federal maritime law has adopted the general rules of
contract interpretation and construction See, e.g., United States ex rel. E. Gulf. lnc. v. Metzgg
Towing: lnc., 910 F.2d 775, 779 (1 1th Cir. 1990); Cashman Eguip. Corp. v. M/V Godfather, No.
05-6271, 2007 U.S. Dist. LEXlS 21921, 2007 WL 934537, at *2 (E.D. La. Mar. 23, 2007).
Generally, the nonoccurrence of a condition prevents the performance of a duty, subject to the
condition, from becoming due. Restatement (Second) of Contracts § 225 cmt. a (1981). ln
resolving doubts as to whether an event is made a condition of an obligor's duty, and as to the
nature of such an event, an interpretation is preferred that will reduce the obligee's risk of
forfeiture, unless the event is within the obligee's control or the circumstances indicate that he
has assumed the risk. Restatement (Second) of Contracts § 227 (1981).

Here, in the contract, Defendant agreed that it had “made every effort to keep this

experience safe.” [Dkt. No. 28-8] at 1. Noticeably, this obligation was made in the past tense.

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Defendant had “made every effort to keep this experience safe,” as opposed to a continuing
obligation to “make every effort to keep this experience safe.” The R&R does not address this
distinction. Report and Recommendation [Dkt. No. 40] at 6, 1111 3-4. However, because the
contract contemplated that this obligation had already occurred, this requirement was a condition
to the agreement between the parties. More specifically, the parties conditioned Plaintiffs
knowledge of the serious risks, in part based on Defendant’s claimed effort to keep the
experience safe prior to the excursion. Thus, if Defendant had not made efforts to keep the
experience safe, then Defendant’s failure to meet this condition would eliminate Plaintiffs
knowledge of the serious risks of serious bodily injury.

Further emphasizing the importance of the condition, Defendant’s testimony in this case

confirms that this promise was an important “part of the deal.”

35
23 Q. ls it 100 percent absolutely clear that
24 Niagara J et Adventures in writing promises
25 passengers they've made every effort to keep this

36
1 experience safe?
2 A. Yes.
3 Q. ls that part of the deal that you're
4 promising the passengers we'll make every effort to
5 keep this experience safe?
7 THE WlTNESS: Yes.
8 BY MR. DOYLE:
9 Q. ls that important?
10 A. Yes.
11 Q. How come?

12 A. We want everybody to be safe and have a
13 good time.
[Dkt. No. 30-2] at 195.

lt is evident from Defendant’s testimony that the language of the Release was
unambiguous and that Defendant intended to create a conditional obligation. Therefore, the
language, “made every effort to keep this experience safe,” created a condition. 13 Williston on
Contracts, §38:13 (4th ed.).

Plaintiff’s testimony further reiterated that her consent to the wavier Was predicated on

Defendant’s effort to keep the excursion safe. For example, Plaintiff testified that based on the

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waiver she understood “there could be [an] injury if we [didn’t] follow directions, and that it
could be unsafe for us if we [didn’t follow directions].” [Dkt. No. 30-2] at 115.

ln contrast to this condition, Defendant failed to follow even basic safety precautions
prior to the excursion, much less make every effort to keep this experience safe. lndeed,
Plaintist expert Captain Jamison testified that “Niagara J et Adventures LLC (acting through its
operator, vessel master, and crew) did not make every effort to keep this experience safe and
consistent with reasonable safety practices of vessel operating in inland waterways.” [Dkt. No.
30-2] at 9. lnstead, “Niagara Jet Adventures LLC violated these anticipated and customary
standards, as well as various federal and state regulations and laws, regarding the safe operation
of a passenger vessel.” E. Therefore, Defendant breached a condition of the Release and the

Release is invalid
CONCLUSION

For the foregoing reasons, Plaintiffs Sarah Witkowski and Scott Witkowski respectfully
request that this Court decline to adopt the Report and Recommendation filed May 18, 2018
[Dkt. No. 40] as it relates to the findings that the effect of the Release is governed by federal
maritime law and the Release’s pre-accident release of claims for negligence is therefore valid,
as well as the finding that the Release was not invalidated by a breach of a condition; deny
Defendant’s motion for summary judgement on those issues; and for such other and further relief

as the Court deems just and proper.

DATED: Buffalo, New York
June l, 2018

than anna

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CERTIFICATE OF SERVICE
l, the undersigned attorney, do hereby certify that a true and correct copy of the foregoing
document was forwarded to the following counsel of record on this this 1St day of June, 2018,

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